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                                                U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    February 7, 2025


BY EMAIL & ECF

 The Honorable Analisa Torres                    The Honorable Dale E. Ho
 United States District Judge                    United States District Judge
 Southern District of New York                   Southern District of New York
 500 Pearl Street                                40 Foley Square
 New York, New York 10007                        New York, New York 10007


       Re:     United States v. Eric Adams, 24 Cr. 556 (DEH)
               United States v. Erden Arkan, 25 Cr. 13 (DEH)
               United States v. Mohamed Bahi, 25 Cr. ___ (AT)

Dear Judge Torres and Judge Ho:

        The Government respectfully submits this letter regarding the three above-referenced
cases, which arise out of related conduct and concern co-conspirators.

        On September 27, 2024, a grand jury in this District returned Indictment 24 Cr. 556 (DEH),
charging defendant Eric Adams in five counts. Count One charges Adams with conspiracy to
commit an offense against the United States, in violation of 18 U.S.C. § 371. Count Two charges
Adams with wire fraud, in violation of 18 U.S.C. § 1343. Counts Three and Four charge Adams
with soliciting campaign contributions by foreign nationals, in violation of 52 U.S.C. §
30121(a)(2). Count Five charges Adams with soliciting and accepting bribes, in violation of 18
U.S.C. § 666. The conspiracy charged in Count One has multiple objects, of which one object is
committing wire fraud through the collection of campaign contributions made under the name of
someone other than the true contributor, and the subsequent request for public funds based on the
misrepresentation that those contributions originated from the named contributor. Adams was
assigned to Judge Ho. Two public conferences and multiple ex parte proceedings pursuant to the
Classified Information Procedures Act have taken place before Judge Ho, defense motions have
been filed and resolved, and a trial date has been set for April 21, 2025.

        On January 10, 2025, the Government filed Information 25 Cr. 13 (DEH), charging
defendant Erden Arkan in one count with conspiracy to violate the laws of the United States, in
violation of 18 U.S.C. § 371. The charged object of that conspiracy is committing wire fraud
through the collection of campaign contributions made under the name of someone other than the
true contributor, and the subsequent request for public funds based on the misrepresentation that
those contributions originated from the named contributor. Arkan was initially assigned to Judge
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Vargas, but was transferred to Judge Ho pursuant to the District’s related case procedures. Also
on January 10, 2025, Arkan pled guilty before Judge Ho to the sole count of the Information. The
conduct for which Arkan pled guilty forms a part of the conduct charged in Counts One and Two
of the Adams Indictment, and Arkan is identified in the Adams Indictment as “Businessman-5.”
(See United States v. Adams, 24 Cr. 556 (DEH), Dkt. 1 ¶ 30).

        On February 6, 2025, the Government filed a notice of intent to file an information charging
Mohamed Bahi in a single count with conspiracy to violate the laws of the United States, in
violation of 18 U.S.C. § 371. The charged object of that conspiracy, as in Arkan, is committing
wire fraud through the collection of campaign contributions made under the name of someone
other than the true contributor, and the subsequent request for public funds based on the
misrepresentation that those contributions originated from the named contributor. The conduct
charged in the Bahi information forms part of the conduct charged in Counts One and Two of the
Adams Indictment, and Bahi is identified in the Adams Indictment as “Adams Employee-1.” (See
United States v. Adams, 24 Cr. 556 (DEH), Dkt. 1 ¶ 28.a). In connection with that case, Bahi has
indicated that he intends to plead guilty to the sole count of the Information against him.

       Bahi has been assigned to Judge Torres. No proceedings have yet been held.


                                                Respectfully Submitted,

                                                DANIELLE R. SASSOON
                                                United States Attorney

                                          by:              /s/
                                                Celia V. Cohen
                                                Andrew Rohrbach
                                                Hagan Scotten
                                                Derek Wikstrom
                                                Assistant United States Attorneys
                                                (914) 993-1921 / (212) 637-1944 / 2410 / 1085


cc:    Counsel of Record (by ECF)
